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EXHIBIT 2
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UNITED STATES DISTRICT OF COURT
FOR THE EASTERN DISTRICT OF LOUISIANA

IN RE: OIL SPILL by the OIL RIG § MDL No. 2179
“DEEPWATER HORIZON” in the §
GULF OF MEXICO, § SECTION: J
on APRIL 20, 2010 §
§ JUDGE BARBIER
Applies to: All Cases §
2:10-cv-02771 § MAG. JUDGE SHUSHAN
§
§

HALLIBURTON ENERGY SERVICES INC.'S EX PARTE MOTION FOR LEAVE TO
FILE REPLY TO BP'S OPPOSITION

Halliburton Energy Services, Inc. ("HESI") files this Ex Parte Motion for Leave to File
Reply to BP's Opposition, and in support of the same, respectfully shows as follows:

On September 1, 2011, HESI filed its Opposed Motion for Leave to File Second
Amended Cross-Claims. (Dkt. No. 3893), ("HESI's Motion"). Thereafter, on September 19,
2011, the BP Entities filed their Opposition to HESI's Motion for Leave to File Second Amended
Cross-Claims ("BP's Opposition"). Thereafter, the undersigned contacted the Court regarding
filing a reply to BP's Opposition. See E-mail dated attached hereto as Exhibit 1. The
Court advised that HESI could file its Reply to BP's Opposition on September 29, 2011. Based
upon this communication, HESI prepared the attached Reply to BP's Opposition to HESI's
Motion for Leave to File Second Amended Cross-Claims attached hereto as Exhibit 2. HESI
requests leave to file the attached Reply to BP's Opposition in accordance with counsel's prior

communications with the Court. See Exhibit 1.

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CONCLUSION

For these reasons, Halliburton Energy Services, Inc. respectfully requests the Court to
grant it leave to file the attached Reply to BP's Opposition to HESI's Motion for Leave to File
Second Amended Cross-Claims, and for the Court to deem Exhibit 2 filed as of the date of filing
this Motion, and for such other and further relief the Court may deem it justly entitled.

Dated: September 29, 2011.

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Respectfully Submitted,
GODWIN RONQUILLO PC

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CERTIFICATE OF SERVICE

I hereby certify that a copy of the foregoing Halliburton Energy Services, Inc.’s Motion
for Leave to file Reply to BP's Opposition was filed electronically with the Clerk of the Court
using the CM/ECF system and that notice of this filing will be sent to all counsel through the
CM/ECF system on this 29th day of September, 2011.

/s/ Donald E. Godwin
Donald E. Godwin

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